           Case
7/17/23, 12:31 PM 5:23-cv-11074-JEL-EAS                 ECFThe
                                                            No.   17-24,
                                                               Libertarian     PageID.1078
                                                                           Party Mail - Libertarian PartyFiled   07/22/23 Page 1 of 1
                                                                                                          of Michigan




               Gmaill                                                                                    Secretary LNC <secretary@lp.org>



  Libertarian Party of Michigan
  Stephan Kinsella <nskinsella@gmail.com>                                                Sun, Jul 16, 2023 at 6:00 PM
  To: Secretary LNC <secretary@lp.org>
  Cc: Rob Latham <freeutahns@gmail.com>, LP Judicial Committee 2022-2026 <lp-jc-2022@googlegroups.com>

    Dear Madame Secretary:

    I confirm that the Judicial Committee has not received any appeal from any person regarding any alleged disaffiliation of
    the state party in Michigan or any appeals via petition for any decision of the LNC regarding the state party in Michigan.

    Stephan Kinsella
    Chair
    Libertarian Judicial Committee
    [Quoted text hidden]
    --

    N. Stephan Kinsella
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    (+1) 713-416-0006
    @nskinsella
    US CENTRAL TIME ZONE (CST)




                                                                  EXHIBIT 63
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